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                                                                              Page 1
 1               IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF CALIFORNIA
 2                        SAN FRANCISCO DIVISION
 3   ___________________________________________________
 4   IN RE: CATHODE RAY TUBE LITIGATION (CRT)
 5   ANTITRUST LITIGATION
 6                              Master File No. 3:07-cv-05944 SC
 7                              MDL No. 1917
 8                              Judge: Hon. Samuel Conti
 9

     __________________________________________________
10

     This Document Relates To:
11

12   ALL ACTIONS
13   __________________________________________________
14

15                          HIGHLY CONFIDENTIAL
16                 PURSUANT TO THE PROTECTIVE ORDER
17              VIDEOTAPE DEPOSITION OF OFFICE DEPOT
18                              RANDALL WICK
19                              July 24, 2014
                                401 East Las Olas Boulevard
20                              Fort Lauderdale, Florida
21

22              Taken on behalf of the Defendants before
     Michael J. D'Amato, RMR, Notary Public in and for the
23   State of Florida at Large, pursuant to Notice of Taking
     Deposition in the above cause.
24

25   Job # 82097

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                                                                                  Page 116
 1   of that first sentence.
 2       A.     Okay.
 3       Q.     With respect to this clause, again I'm really
 4   only focusing on the first two lines of this clause,
 5   what do you understand this clause to mean?
 6       A.     To me it appears that this vendor, Panasonic,
 7   will provide Office Depot with accurate information
 8   based on where the product, country of origination came
 9   from, the product.
10       Q.     Why would that information be important for
11   Office Depot?
12       A.     I couldn't speak for this.                           I don't know what
13   benefit it would have been for Office Depot.
14       Q.     I think previously we had discussed and you
15   believed that typically Office Depot would have sourced
16   products from the vendors' U.S. operations?
17       A.     We negotiate the deal through the U.S. based
18   operations.     Most product is shipped from overseas.
19       Q.     You got a jump on the second part of the
20   question.     I appreciate it.                  Let's flip to 5 of 10.
21       A.     Okay.
22       Q.     Again you'll see similar program funds,
23   billing terms.        Is there, again there's a little bit of
24   change between the two we have looked at, but is how
25   these program funds would be accounted for with Office


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                                                                              Page 1
 1               IN THE UNITED STATES DISTRICT COURT
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                                                                                       Page 68
 1   their competitors for selling those products?
 2       A.     I couldn't speak for the team back then.
 3       Q.     Based just on your general knowledge do you
 4   have an understanding who would have been competing for
 5   selling CRT monitors in the industry, in the market
 6   that Office Depot was also selling in?
 7       A.     I would think, list of retailers, I would
 8   think Wal-Mart, all these specialty retailers across
 9   the U.S., Circuit City, Best Buy, Target, there could
10   have been back then vendor stores but I would say there
11   would be a very broad distribution of these products.
12       Q.     It wouldn't just be limited to other office
13   super stores it would be broader than that?
14       A.     Yes.
15       Q.     That would be your expectation.                               With respect
16   to CRT monitors, picking the various vendors, would
17   Office Depot consider what these other competitors were
18   selling?
19       A.     It would be part of the decision, yeah.
20       Q.     Would that be the same for CRT televisions as
21   well that they were purchasing?
22       A.     Right.
23       Q.     During the relevant time period with respect
24   to purchasing CRT monitors -- let's take a step back.
25   To the degree I need to dig deeper I will but let's try


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                                                                                     Page 69
 1   to be broad.       For the CRT finished products how did
 2   Office Depot procure those products?                               What I mean did
 3   they procure them directly from the CRT finished
 4   products manufacturers?
 5       A.     Yes.      So if Panasonic was one of the
 6   manufacturers they would procure it through the U.S.
 7   operation and then however they procure the goods to
 8   our distribution centers.
 9       Q.     And with respect to, as you said through these
10   vendors, U.S. operations, are you aware at any point
11   during the relevant time period Office Depot would
12   procure these products through any of these vendors'
13   foreign operations?
14       A.     I would not believe they would do that.
15       Q.     With respect to, let's start with you
16   mentioned earlier that purchasing CRT monitors from
17   Philips, with respect to Philips, are you aware of what
18   either monitors, televisions, what type of products
19   they were procuring, Office Depot was procuring during
20   that time?
21       A.     No.
22       Q.     And would that be fair to say for all the
23   vendors, you would not be able to tell me which?
24       A.     Correct.
25       Q.     Did Office Depot ever procure CRT finished


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 1               IN THE UNITED STATES DISTRICT COURT
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                                                                                     Page 44
 1   complaint in this litigation?
 2       A.    Yes.
 3             MR. IOVIENO:              Object to the form.
 4       Q.    Do you know -- that was on the sale side.                              Do
 5   you know if the procurement of CRT finished products
 6   that would have been sold in these Canadian retail
 7   stores are they part of Office Depot's basis for this
 8   litigation?
 9             MR. IOVIENO:              Object to the form.
10       A.    I believe so.
11       Q.    With respect -- strike that.                              To the extent
12   you know, especially since you reviewed the procurement
13   data, is there any way looking at the procurement data
14   that was produced in this case to be able to determine
15   when a CRT finished product was procured for an
16   American store versus a Canadian store?
17             MR. IOVIENO:              Object to the form.
18       A.    I would not know that.
19       Q.    With respect to during the relevant time
20   period -- strike that.
21             How did these retail stores, let's start with
22   the American retail stores.                     How did the retail stores
23   receive product, specifically CRT finished products?
24       A.    The products would have been procured from the
25   manufacturers which would have been shipped to our


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                                                                            Page 45
 1   distribution centers throughout the U.S. and then the
 2   distribution centers would have procured those goods to
 3   each store.
 4       Q.    Approximately, again I know it likely changed
 5   year to year but approximately during the relevant time
 6   period how many distribution centers were there?
 7       A.    To the best of my knowledge probably mid
 8   single digit.
 9       Q.    Do you know if Office Depot ever had
10   distribution centers that were in Canada?
11       A.    I do not know.
12       Q.    In a related question do you know then for the
13   retail stores that were in Canada whether they received
14   their product from a distribution center that was in
15   the U.S. versus a distribution center that was in
16   Canada?
17       A.    I do not know.
18       Q.    So it is possible a distribution center in the
19   U.S. also supplied stores in Canada?
20       A.    It's possible.
21       Q.    With respect to -- again we've touched on this
22   a little bit but I'll break it down and I want to
23   confirm different points of what we have discussed.
24   Did Office Depot sell CRT finished products through an
25   online store during the relevant time period?


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